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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )



                                 Conditional Voluntary Dismissal


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque, Incorporated, voluntarily

dismisses the Plaintiff’s case against the following Defendants, pursuant to a settlement

agreement reached by the parties:

 Doe           Store Name                            Store/Merchant ID
 28            Anne_Shop                             1333683
 37            BeatuyShower Store                    2799026
 51            Belieber Store                        4044058
 56            Born Pretty Official Store            1814259
 67            Dazzling Girl Store                   2458002
 69            Dreamy Sweety Store                   3482047
 81            Forward Store                         1379167
 93            ibcccndc Manicure Store               2664196
 94            IBCCCNDC nail art Store               3873012
 132           My makeup Store                       3256071
 134           Nail Fashion                          1196054
 158           Savi Manicure Store                   1947087
 165           Shop2946056 Store                     2946056
 176           Stylish Bueaty Store                  2919101
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180       The 3th world Store             2901109
189       USbeauty Store                  1387094
194       Vicky Dropshipping Store        2945063
196       vrenmol Official Store          2349187
212       Alonea                          A30RHGEDDV8VEM
217       AutumnFall                      ANUQZ3FA8TS2P
221       BornPrettyStore                 A8L49FR4CC2FK
224       CieKen                          A31J1O639REKQ3
225       Copercn                         A1GL3W9KMHTDWX
228       Datework                        A1R46AVSJPXK69
232       DETALLAN                        A10TR6X5EKL9BR
240       Fashionheaven                   A6PCDQ3F8XNPW
241       FTXJ                            A2AX5N3VQGC0PI
242       Fullkang                        ADLY6Z6LX01IE
243       Goodtrade8                      A1WDKHESM7DAAM
251       jinjiums                        AVIQBR3IOLSRK
253       KEMILOVE                        AH3HPCMBAXDCF
257       LiPing                          A317I2MN9QEHKS
258       Lisa Lavan                      A97MF9EY9QZOR
259       Livoty                          A1FEQ43F9CLRL2
261       Lookatool                       A19PDY766W2X00
263       MALLOOM                         A1BRCE6PO6IPWL
266       Misaky                          A3S4CWG2TBTFMK
268       NEWONESUN                       A2DIXBKYTYB3NR
271       OVERMAL                         A30UMJPSTEV9I9
275       SANNYSIS                        A3I7ZEAEWPBLEV
279       Shensee                         A1PBVRUJ55857X
280       SMTSMT-Store                    A28KEMQCB6TKMH
284       Transser                        A1FGB5D62YX1GD
285       TRENDINAO                       A3PPUSLZQWQBW9
287       USHOT                           A3J42M9G2V2F3Y
288       Vanvler                         A2UMGC74GP6K0C
289       Vovotrade                       A6D1TOZN3TY8V
290       WENSY                           A3B06YZB68T737
291       wffo&ff                         A1I0F0X4I7HR1C
292       Sunfei                          AIATFVBUO0XG2
293       XUANOU                          A2DN1G625QLW3W
294       YJYdada                         A3R3GW450TYAL1
295       yoyorule                        A3RBI9Z05ZOF64



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349         7color7                                7color7
358         good365                                good365
360         invenno                                invenno
363         lusomuch                               lusomuch
368         qingyunlive8                           qingyunlive8
389         alaska                                 561b1f7f9d62110f5ebb6714
394         bakheng                                56d92bf41e15ff11682576b1
404         bestfeeling                            58f6089dd0237707b7dd942d
410         bornprettystore                        51db88f5efe591089ddcad71
417         cherishbeauty                          584f7a91a1af664c9edb6314
426         cozyhomesupplies                       5693457364bc9b26dffdb0f6
427         crazydealinternationalbusinessco       53e83846ff4d6d289f95ab7f
431         daixiadaixia                           58e4a0192c5ced1063f48a64
436         donsvideo                              5991413e8ee78d3196a43e5a
454         focusnails                             57ac6068957f44188ca9a12f
471         imwatch                                58ca432742540b508381df9a
472         infaye                                 56b032cf1f30eb112a502081
486         keepbuying                             5881c2bdf4ee9c6bbccc5ed0
489         kissmizi                               59cb162ab771734914fdd3de
498         linaiping                              594bf19814611043a3c696c1
517         maxsm                                  58d48fe03a3b01575689a2c1
520         missdoir                               577a7e0017c3e274a35a5434
522         more_joycn                             55cd4a212345df16a032027f
524         nailartworkshop                        5806f7a13793c9252946010c
530         ninitextilecity                        59d85dec21064f6bba16891e
531         oceanfancy                             5b06752d8b8be95d4fbfd43a
538         pocketshopping                         560a4f302ca23217b1dd9e9a
546         shalaman                               5b24d62d7752c87b16afa204
551         shenxian                               5844c5da728de603384de0dc
564         suebusinesscoltd                       5640aedfe09d871293b98d80
597         yby666                                 5938fe8c97555e2f3720bdc5
614         旭日升服务公司                                5513b63ea1e2400f88bf5562
615         深圳市优米网络科技有限公司                          556ed3b9a2c01a35374150df
622         香港易捷电子科技有限公司                           558a723828a16765f0454fea
456 (628)   fumanjiairon                           59cf636d8ee78d390dc4b94e




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       Plaintiff requests that the dismissal be without prejudice and without costs to either party,

and with leave for Plaintiff to seek reinstatement within 60 days from the entry of this Notice of

Dismissal, should the Defendant fail to comply with the terms of the settlement agreement within

that time.


Dated: May 14, 2019


                                      Respectfully submitted,



                              By:       s/David Gulbransen/
                                      David Gulbransen
                                      Attorney of Record for Plaintiff

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